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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

REBECCA GROVE, Individually and as             *
Personal Representative of the Estate of
ROYCE A. GROVE                                 *

       Plaintiffs                              *

v.                                             *          Case no.: 12-CV-02950-WDQ

KRISTIAN ULLOA, M.D., et al                    *

       Defendants                              *

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                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(A)(ii), the parties by their undersigned counsel stipulate to the

dismissal with prejudice of University of Maryland Surgical Associates, P.A. ONLY.



_________/s/________________________               _________/s/_______________________
Paul D. Bekman, Esquire                            J. Michael Sloneker (#03324)
Michael P. Smith (#03179)                          Jonathan A. Cusson (#27095)
Salsbury, Clements, Bekman, Marder &               ANDERSON, COE & KING, LLP
Adkins, LLC                                        Seven Saint Paul Street, Suite 1600
300 W. Pratt Street, Suite 450                     Baltimore, MD 21202
Baltimore, MD 21201                                Sloneker@acklaw.com
410-539-6633                                       Cusson@acklaw.com
bekman@scbmalaw.com                                (T) 410-752-1630, (F) 410-752-0085
smith@scbmalaw.com                                 Attorneys for Defendants
Attorney for Plaintiffs
(signed by J. Michael Sloneker with
permission of Michael Smith)
         Case 1:12-cv-02950-WDQ Document 36 Filed 08/04/14 Page 2 of 2




                                      Certificate of Service

       I HEREBY CERTIFY that on this 4th day of August, 2014 a copy of the foregoing

Stipulation of Dismissal With Prejudice was served via electronic mail to:

Paul D. Bekman, Esquire
Michael P. Smith, Esquire
Salsbury, Clements, Bekman, Marder & Adkins, LLC
300 W. Pratt Street, Suite 450
Baltimore, MD 21201
Attorney for Plaintiffs


                                             _________/s/_______________________
                                             J. Michael Sloneker (#03324)
                                             Jonathan A. Cusson (#27095)
